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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA,                    §
                                             §
                    Government,              §
                                             §
VS.                                          §     CRIMINAL NO. H-14-151
                                             §
JOSE AVILES-VILLA,                           §
                                             §
                    Defendant.               §

                                      ORDER

       The defendant filed an unopposed motion for continuance of the sentencing hearing,

(Docket Entry No. 106). The motion for continuance is GRANTED. The sentencing hearing

is reset to September 4, 2014 at 9:00 a.m.

             SIGNED on July 10, 2014, at Houston, Texas.


                                                 ______________________________________
                                                          Lee H. Rosenthal
                                                    United States District Judge
